                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

In re:
                                                        Chapter 7
BRANDON HEITMANN,                                       Case No. 24-41956-MAR
                                                        Hon. Mark A. Randon
                Debtor.
                                          /
MOHAMED SAAD,

         Plaintiff,
v.                                                      Adv. Pro. No. 24-04375-mar
                                                        Hon. Mark A. Randon
BRANDON HEITMANN,

     Defendant.
_____________________________________/

                            ORDER GRANTING
               EX PARTE MOTION TO EXPEDITE HEARING ON
               PLAINTIFF’S MOTION TO COMPEL DISCOVERY

     THIS MATTER having come before the Court upon the Plaintiff’s Ex Parte
Motion, and the court finding good cause for the entry of the Order:

       IT IS HEREBY ORDERED that a telephonic hearing shall be held on
Plaintiff’s Motion to Compel Discovery [ECF No. 40] on May 5, 2025, at 2:00 p.m.
All interested parties must call 1-202-503-1666 and use conference ID 231 911
059#.
Signed on April 28, 2025




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